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                IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE DISTRICT OF DELAWARE

In re:                              )      Chapter 11
                                    )      Case No. 22-11068 (JTD)
FTX TRADING LTD., et al.,           )      (Joint Administration Pending)
                                    )
         Debtors.                   )      Hearing: Dec. 16, 2022, 10:00 a.m.

    EXPEDITED MOTION OF BLOOMBERG L.P., DOW JONES &
  COMPANY, INC., THE NEW YORK TIMES COMPANY AND THE
   FINANCIAL TIMES LTD. TO INTERVENE FOR THE LIMITED
  PURPOSE OF OBJECTING TO THE MOTION OF DEBTORS FOR
  ENTRY OF A FINAL ORDER AUTHORIZING THE DEBTORS TO
       REDACT OR WITHHOLD CERTAIN CONFIDENTIAL
 INFORMATION OF CUSTOMERS AND PERSONAL INFORMATION
                     OF INDIVIDUALS

         Bloomberg L.P., Dow Jones & Company, Inc., The New York Times

Company, and The Financial Times Ltd. (collectively, the “Media Intervenors”)

hereby move to intervene for the limited purpose of objecting to Debtors’ Motion

for Entry of a Final Order Authorizing the Debtors to Redact or Withhold Certain

Confidential Information of Customers and Personal Information of Individuals.

                                   BACKGROUND

         1.      When Debtors filed their petition for relief under Chapter 11, it sent

shockwaves throughout the financial community in general, and the crypto

investing community in particular. FTX’s new CEO John Ray told this Court

that “never in my career have I seen such a complete failure of corporate controls

and such a complete absence of trustworthy financial information as occurred

here. From compromised systems integrity and faulty regulatory oversight

abroad, to the concentration of control in the hands of a very small group of
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inexperienced, unsophisticated and potentially compromised individuals, this

situation is unprecedented.” Declaration Of John J. Ray III in Support of Chapter

11 Petitions and First Day Pleadings,” D.I. 24 (November 17, 2022).

      2.      The bankruptcy filing is of significant and legitimate public concern

given FTX’s leading role in cryptocurrency, the scale of potential

mismanagement and wrongdoing, the reputational and financial impact of its

collapse on the cryptocurrency field,1 the scale of creditors’ losses, and the

related, collateral financial impact on third parties and markets.2 Records in these

proceedings indicate that potentially more than a million creditors will be

affected. D.I. 45 ¶7 (“the Debtors have hundreds of thousands if not over one



1      E.g., Allison Morrow, “BlockFi files for bankruptcy as FTX contagion
grips crypto markets,” https://www.cnn.com/2022/11/28/business/blockfi-
bankruptcy-ftx-fallout/index.html (Nov. 28, 2022); Laura Kelly, “Here’s the
Latest on the FTX Collapse,” https://www.nytimes.com/article/ftx-bankruptcy-
crypto-collapse.html (Nov. 28, 2022); Vildana Hajric, “Crypto Markets Buckle
as       FTX       Bankruptcy       Spurs       Search     for    Casualties,”
https://www.bloomberg.com/news/articles/2022-11-11/crypto-markets-buckle-
as-ftx-filing-spurs-search-for-casualties?leadSource=uverify%20wall (Nov. 11,
2022); Jonathan Randles & Soma Biswas, “DOJ Watchdog Calls for Independent
FTX Probe in Bankruptcy,” https://www.wsj.com/articles/doj-watchdog-calls-
for-independent-ftx-probe-in-bankruptcy-11669940711 (Dec. 1, 2022).

2      “Robinhood…has seen its stock price take a hit; FTX took a 7.6% stake in
the platform earlier this year. Elsewhere, high-profile investors like Sequoia have
written down their investments in FTX — worth hundreds of millions of dollars
— to zero. The wild gyrations of bitcoin and other digital coins may be a result
of forced selling, as FTX and others have had to raise funds to cover withdrawals
and margin calls and raise capital.” PYMNTS, “BitPay CEO Says Knock-On
Effects        of        FTX’s        Collapse        Not         Yet       Clear,”
https://www.pymnts.com/cryptocurrency/2022/bitpay-ceo-knock-on-effects-of-
ftxs-collapse-not-yet-clear/ (Nov. 14, 2022).
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million creditors and other parties-in-interest”). The Media Intervenors and other

news organizations have been closely reporting on these proceedings and issues.3

      3.      Debtors have been accused of lack of transparency in their business.

That mindset appears to have carried over to this bankruptcy, as they have taken

the extraordinary step of seeking to keep under seal their list of creditors, a



3      E.g., Joshua Oliver, Scott Chipolina and Nikou Asgari, “Sam Bankman-
Fried’s      $32bn    FTX      crypto    empire    files     for     bankruptcy,”
https://www.ft.com/content/afe56c4e-2d68-457e-bbb2-476752d5f02e (Nov. 11,
2022); Alun Long and Hannah Lang, “Crypto exchange FTX files for bankruptcy
as wunderkind CEO exits,” https://www.reuters.com/business/ftx-start-us-
bankruptcy-proceedings-ceo-exit-2022-11-11/ (Nov. 11, 2022); Jeremy Hill,
“Bankman-Fried Resigns From FTX, Puts Empire in Bankruptcy,”
https://www.bloomberg.com/news/articles/2022-11-11/ftx-com-goes-bankrupt-
in-stunning-reversal-for-crypto-exchange?utm_campaign=socialflow-
organic&utm_source=twitter&utm_medium=social&utm_content=crypto&lead
Source=uverify%20wall (Nov. 11, 2022); David Yaffe-Bellany, “Embattled
Crypto         Exchange          FTX        Files        for         Bankruptcy,”
https://www.nytimes.com/2022/11/11/business/ftx-bankruptcy.html (Nov. 11,
2012); Rachel Martin and David Gura, “Bankman-Fried Resigns From FTX, Puts
Empire in Bankruptcy “Cryptocurrency exchange FTX files for bankruptcy,”
https://www.npr.org/2022/11/11/1135984033/once-valued-at-more-than-30-
billion-crypto-currency-ftx-is-near-bankruptcy (Nov. 11, 2022); Jonathan
Ponciano, “FTX Files For Bankruptcy—Former Billionaire Sam Bankman-Fried
Resigns                                As                                 CEO,”
https://www.forbes.com/sites/jonathanponciano/2022/11/11/ftx-files-for-
bankruptcy-former-billionaire-sam-bankman-fried-resigns-as-
ceo/?sh=7c60db40231d (Nov. 11, 2022); Rob Wile, “Crypto giant FTX to file
for     bankruptcy,      CEO      Sam      Bankman-Fried         steps    down,”
https://www.nbcnews.com/tech/crypto/crypto-giant-ftx-file-bankruptcy-ceo-
sam-bankman-fried-steps-rcna56749 (Nov. 11, 2022) Caitlin Ostroff, Vicky Ge
Huang and Alexander Gladstone, “FTX Files for Bankruptcy, CEO Sam
Bankman-Fried Resigns,” https://www.wsj.com/articles/ftx-files-for-chapter-11-
bankruptcy-
11668176869?st=h0wt7ph3igjxfqe&reflink=desktopwebshare_permalink (Nov.
11, 2022).

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document which, with very few exceptions, has historically been open to the

public. Intervenors object to the continued sealing and redaction of information

that historically has been quintessentially public in nature.

 MOTION TO INTERVENE AND TO UNSEAL JUDICIAL RECORDS

      4.      The Media Intervenors seek to intervene in these proceedings

pursuant to Federal Rule of Bankruptcy Procedure 2018(a) (“Rule 2018(a)”) for

the limited purpose of vindicating the public’s right of access to the sealed and

redacted judicial documents filed with the Court in this matter. The records

should be unsealed and unredacted for the reasons set forth below.

      5.      Bloomberg LP is the owner and operator of Bloomberg News.

Bloomberg’s newsroom of more than 2,700 journalists and analysts delivers

thousands of stories a day, producing content that is featured across multiple

platforms, including digital, TV, radio, video, print and live events.

      6.      Dow Jones & Company is a leading provider of news and business

information through The Wall Street Journal and other publications, including

WSJ Pro Bankruptcy and Dow Jones Newswires. The Wall Street Journal

engages readers across print, digital, mobile, social, podcast and video. Building

on its heritage as the preeminent source of global business and financial news,

the Journal includes coverage of U.S. & world news, politics, arts, culture,

lifestyle, sports, and health. Dow Jones is an indirect subsidiary of News

Corporation, a publicly held company. Dow Jones’s headquarters are located at

1211 Avenue of the Americas, New York, NY 10036.

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      7.      The New York Times, Inc. is the publisher of The New York Times

and operates the news website nytimes.com.

      8.      The Financial Times Limited, incorporated in England, is one of the

world’s leading business news organizations, recognized internationally for the

authority, integrity and accuracy of its publications which include the Financial

Times newspaper and FT.com (the “FT”). It is part of the FT Group which, as

part of Nikkei Inc., provides a broad range of business information, news and

services for the global business community including FT Specialist and a number

of services and joint ventures. The FT has a paying readership of 1.2 million,

more than one million of which are digital subscribers.

      9.      Rule 2018(a) permits “any interested entity” to intervene in a

bankruptcy matter, either generally or “with respect to any specified matter.” Fed.

R. Bankr. Proc. 2018(a). Courts, including this Court, have routinely recognized

the right of the media (and members of the public generally) to intervene to

challenge sealing orders. E.g., Pansy v. Borough of Stroudsburg, 23 F.3d 772,

778 (3d Cir. 1994); In re Alterra Healthcare Corp., 353 B.R. 66, 70 (D. Del.

2006); In re Peregrine Systems, Inc., 311 B.R. 679, 687 (D. Del. July 12, 2004);

In re Symington, 209 B.R. 678, 690 (Bankr. D.Md. 1997); In re Thow, 392 B.R.

860, 864 (Bankr. W.D. Wash. 2007).

      10.     The news media acts as the eyes and ears of the public, informing

the public of issues of the day. Houchins v. KQED, Inc., 438 U.S. 1, 8 (1978).

This valuable social function is hampered by sealing of judicial records. As

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members of the public, the Media Intervenors suffer an identical injury, and so

intervention is proper.

      11.    For these reasons, the Court should grant Media Intervenors’ request

to intervene in these proceedings under Rule 2018(a) to assert the public’s right

of access to the sealed judicial documents.

      12.    There is a strong presumption and public policy in favor of public

access to court records. See, e.g., In re Cendant Corp., 260 F.3d 183, 192 (3d Cir.

2001); Mosaic Techs., Inc. v. LSI Corp., 878 F.Supp.2d 503, 507 (D. Del. 2012);

In re Continental Airlines, 150 B.R. 334, (D. Del. 1993). The right of public

access is “rooted in the public’s First Amendment right to know about the

administration of justice.” Video Software Dealers Ass’n v. Orion Pictures Corp.

(In re Orion Pictures Corp.), 21 F.3d 24, 26 (2d Cir. 1994) (stating that public

access “helps safeguard the integrity, quality, and respect in our judicial system,

and permits the public to keep a watchful eye on the workings of public agencies,”

citations omitted).

      13.    The “policy of open inspection” in Section 107 “evidences

congress’s strong desire to preserve the public’s right of access to judicial records

in bankruptcy proceedings.” Id. Accord In re Bell & Beckwith, 44 B.R. 661, 664

(Bankr. N.D. Ohio 1984) (“This policy of open inspection, established in the

Bankruptcy Code itself, is fundamental to the operating of the bankruptcy system

and is the best means of avoiding any suggestion of impropriety that might or

could be raised”).

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        DEBTORS HAVE FAILED TO SATISFY THEIR BURDEN
                   FOR SEALING RECORDS

      14.    In seeking to seal documents, Debtors faces a heavy burden of proof.

“Evidence -- not just argument -- is required to support the extraordinary remedy

of sealing.” In re Motors Liquidation Company, 561 B.R. 36, 43 (Bankr.

S.D.N.Y. 2016). Accord Publicker Indus. v. Cohen, 733 F.2d 1059, 1071 (3d Cir.

1984); In re Wells Fargo Bank, N.A., 2019 WL 642850 at *2 (Bankr. W.D. Pa.

Feb. 14, 2019) (“The moving party has the burden of establishing through

evidence that the information should be protected,” italics in original).

      15.    Debtors claim that their “customer list, and related customer data, is

an important and valuable asset of the Debtors and the Debtors maintain their

customer list in strict confidence.” (Motion ¶13). They also claim that “Public

dissemination of the Debtors’ customer list could give the Debtors’ competitors

an unfair advantage to contact and poach those customers and would interfere

with the Debtors’ ability to sell their assets and maximize value for their estates

at the appropriate time.” (Id. ¶13).

      16.    A vague statement that disclosure “could” result in giving

competitors an unfair advantage does not satisfy the debtors’ heavy burden. Reed

v. NBTY, Inc., 2014 WL 12284044 at *2 n.3 (C.D. Cal. Nov. 18, 2014) (“The

vague contention that competitors could rely on these publicly available

documents to support and launch a competing product is insufficient”); In re

Mata, 2019 WL 10377718 at *3 (Bankr. C.D. Cal. Sept. 20, 2019) (“Defendants


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repeated assertions that “[p]ublic disclosure of this private commercial

information could negatively impact Defendants’ competitive standing in the

student loan industry” do not appear to satisfy the evidentiary burden imposed on

Defendants…”).

        17.   In any event, there is no evidence to support these conclusory

statements. See In re Document Technologies Litigation 282 F.Supp.3d 743, 747

(S.D.N.Y. 2017) (proponent of sealing has burden of establishing “through

competent evidence,” that document reveals trade secrets or other confidential

business information). An unsworn statement in a motion is not evidence. In re

Valsartan N-Nitrosodimethylamine (NDMA), Losartan, and Irbesartan Products

Liability Litigation, 2020 WL 955059 at *2 (D. N.J. Feb. 27, 2020); In re

Ladevereaux, 2006 WL 549239 at *3 n.2 (Bankr. D. Mass. Mar. 6, 2006)

(“Counsel’s statements in this motion are not evidence”).

  REDACTING THE NAMES OF CREDITORS IS INAPPROPRIATE

        18.   Initially, the Media Intervenors do not object to sealing the addresses

and contact information of the creditors. Nonetheless, absent evidence of a

genuine threat to the safety of the creditors, such redaction should not become the

norm.

        19.   While redaction of contact information arguably may be justified in

some circumstances to prevent identity theft and harassment, releasing the names

of the creditors neither exposes the creditors to risk of identity theft nor to

personal danger. It also does not create undue risk of unlawful injury. In re

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Celsius Network LLC, 644 B.R. 276, 291-95 (Bankr. S.D.N.Y. 2022) (authorizing

redaction of contact information of customers of a cryptocurrency business but

refusing to redact names of those customers).

      20.    Debtors’ arguments about the European General Data Protection

Regulation are unavailing. Debtors provide no legal authority explicitly dictating

why the GDPR should apply to the bankruptcy cases of debtors filed in the United

States, or specifically, why the foreign laws would take precedence in a situation

where United States law requires the disclosure of the information. Section 107(c)

provides the Court with discretion to protect an individual with respect to any

identifying information to the extent the Court finds that disclosure of such

information would create an undue risk of unlawful injury to the individual. 11

U.S.C. § 107(c). However, Debtors have failed to show that public disclosure of

foreign citizens personal data in violation of the GDPR would constitute an

unlawful injury to those individuals because the financial penalties (injury) would

be imposed against Debtors under those laws. The Court should not treat foreign

citizens differently than the United States citizens implicated in this case. In re

Celsius Network LLC, 644 B.R. 276 (Bankr. S.D.N.Y. 2022). See also In In re

Blackwell, 263 B.R. 505, 510 (W.D. Tex. 2000) (“the parties’ expectations under

the laws of various other jurisdictions is not at issue here. InverWorld maintains

its offices in the United States. It was at least foreseeable that the laws of this

country could be applied to at least some disputes these parties could have

contemplated at the time they made their investments”).

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      21.     Redacting the names of the creditors will have far-reaching impact

as the case progresses. Will any creditor who wants to file a motion or an

adversary proceeding be entitled to do so anonymously? Would preference

actions redact the names of defendants who are creditors? This will turn the entire

proceeding into a farce, with only the Debtor’s name publicly spoken. This would

be contrary to Congress’s “strong desire to preserve the public’s right of access

to judicial records in bankruptcy proceedings.” Video Software Dealers Ass’n, 21

F.3d at 26 (quoted in In re Alterra Healthcare Corp., 353 B.R. at 75).

      22.     The Court has indicated that proofs of claim will not be submitted

anonymously. If disclosure it inevitable, there is no point to keeping the names

anonymous now.

                                CONCLUSION

      WHEREFORE, for the foregoing reasons, the Media Intervenors

respectfully request that the Court deny Debtors’ Motion for Entry of a Final

Order Authorizing the Debtors to Redact or Withhold Certain Confidential

Information of Customers and Personal Information of Individuals.

      Alternatively, if the Court finds that one of the limited exceptions to public

access applies, the Court should apply it narrowly, and that at least the names be

public.




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                                        Respectfully submitted,


                                        /s/ David L. Finger___________
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Dated: December 9, 2022




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